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     Sacramento, CA. 95814
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     (916) 444-3994
 4   Fax (916) 447-0931

 5   Attorney for Defendant
     CORY WHALEN
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     THE UNITED STATES OF AMERICA,                ) No. CR-S-08-318 LKK
 9                   Plaintiff,                   )
                                                  ) STIPULATION AND
10          v.                                    ) ORDER TO CONTINUE
11
                                                  ) SENTENCING
     CORY WHALEN,                                 )
12                                                ) Date: November 8, 2011
                            Defendant.            ) Time: 9:15 a.m.
13                                                ) Judge: Hon. Lawrence K. Karlton
14

15
            IT IS HEREBY stipulated between the United States of America through its undersigned

16
     counsel, Russell Carlberg, Assistant United States Attorney, together with counsel for defendant

17
     Cory Whalen, John Manning, Esq., that the sentencing presently set for October 18, 2011, be

18
     continued to November 8, 2011, at 9:15 a.m., thus vacating the presently set sentencing. The

19
     parties and United States Probation hereby requests that the court adopt the following schedule

20
     pertaining to the presentence report:

21
                 Judgment and Sentencing date:                                  11/8/11
22
                 Reply, or Statement of Non-Opposition:                         11/1/11
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25               Motion for Correction of the Presentence Report
                 Shall be filed with the Court and served on the
26               Probation Officer and opposing counsel no later than:          10/25/11
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 1             The Presentence Report shall be filed with the Court
               And disclosed to counsel no later than:                        10/18/11
 2

 3             Counsel’s written objections to the Presentence Report
               Shall be delivered to the probation officer and opposing
 4             Counsel no later than:                                         10/11/11
 5
               The proposed Presentence Report shall be disclosed to
 6             Counsel no later than:                                         9/27/11

 7
                                                        Respectfully submitted,
 8

 9   Dated: September 20, 2011                          /s/ John R. Manning
                                                        JOHN R. MANNING
10                                                      Attorney for Defendant
                                                        Cory Whalen
11

12

13   Dated: September 20, 2011                          BENJAMIN B. WAGNER
                                                        United States Attorney
14

15
                                                        /s/ Russell Carlberg____
                                                        RUSSELL CARLBERG
16                                                      Assistant U.S. Attorney
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             Case 2:08-cr-00318-DAD Document 272 Filed 09/27/11 Page 3 of 3


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 7

 8                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     THE UNITED STATES OF AMERICA,             ) No. CR-S-08-318 LKK
10
                     Plaintiff,                )
11                                             ) ORDER
            v.                                 )
12                                             ) Date: November 8, 2011
     CORY WHALEN,                              ) Time: 9:15 a.m.
13
                                               ) Judge: Hon. Lawrence K. Karlton
14                        Defendant.           )
                                               )
15
            GOOD CAUSE APPEARING, it is hereby ordered that the sentencing for COREY
16
     WHALEN, presently set for October 18, 2011, at 9:15 a.m. be continued to November 8, 2011, at
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     9:15 a.m.
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19   Dated: September 26, 2011
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